                           UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA


 JOE HAND PROMOTIONS, INC.,

                        Plaintiff,

                v.
                                                CASE NO.: 1:18-cv-00538
  WILLIAM KNIGHT, individually, and as
  an officer, director, shareholder, member
  and/or principal of WILL’S SOCIAL
  BISTRO & LOUNGE LLC d/b/a Will’s
  Social Bistro & Lounge, and WILL’S
  SOCIAL BISTRO & LOUNGE LLC d/b/a
  Will’s Social Bistro & Lounge,

                        Defendants.


                                          COMPLAINT

       Plaintiff, Joe Hand Promotions, Inc., by and through its attorneys, as and for its Complaint

against the Defendants, WILLIAM KNIGHT, individually, and as an officer, director, shareholder,

member and/or principal of WILL’S SOCIAL BISTRO & LOUNGE LLC d/b/a Will’s Social

Bistro & Lounge and WILL’S SOCIAL BISTRO & LOUNGE LLC d/b/a Will’s Social Bistro &

Lounge alleges as follows:

                                 JURISDICTION AND VENUE

       1.      Jurisdiction is proper as this action arises under the copyright laws of the United

States. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal question)

and 1338(a) (copyright) as this civil action is brought under the Copyright Act of the United States,

17 U.S.C. § 101, et seq. and the Communications Act of 1934, as amended, 47 U.S.C. § 553

(generally referred to as “Cable Piracy”) and 47 U.S.C. § 605 (generally referred to as “Satellite

Piracy”).




             Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 1 of 7
       2.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(a) and (b) and

1400(a) because a substantial part of the events giving rise to the claims occurred in this District

and/or Defendants reside in this District.

                                         THE PARTIES

       3.       Plaintiff, Joe Hand Promotions, Inc. is a corporation organized and existing under

the laws of Pennsylvania with its principal place of business located at 407 E. Pennsylvania Blvd.,

Feasterville, PA 19053.

       4.      Plaintiff is a company that specializes in distributing and licensing premier sporting

events to commercial/non-residential establishments including bars, restaurants, clubhouses,

shops, and similar locations.

       5.      By written agreement with the promoters of the event, Plaintiff was granted the

exclusive right to commercially distribute the audiovisual presentation of the Floyd Mayweather,

Jr. vs. Conor McGregor boxing match, including all undercard bouts and commentary, on

Saturday, August 26, 2017 (the “Program”).

       6.      By written agreement with the owner of the registered copyright [PA 2-066-333]

of the Program, Plaintiff was assigned ownership of the right to distribute 17 U.S.C. § 106(3) and

authorize the public performance 17 U.S.C. § 106(4) of the Program.

       7.      Upon information and belief, Defendant, Will’s Social Bistro & Lounge LLC is a

business entity operating an establishment known as Will’s Social Bistro & Lounge located at

5400 S. Miami Blvd., Suite 112, Durham, NC 27703 (the “Establishment”).

       8.      Upon information and belief, the individual Defendant(s), William Knight,

reside(s) in the State of North Carolina. On the date of the Program, each Defendant was an officer,

director, shareholder, member or principal of the entity owning and operating the Establishment.



                                                 2



             Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 2 of 7
          9.     Upon information and belief, by virtue of the above position with the

Establishment, each individual Defendant had the right and ability to supervise and an obvious and

direct financial interest in the activities of the Establishment at all times relevant to Plaintiff’s

claims.

                                                   FACTS

          10.    The Program garnered widespread media coverage, public interest, and was

reported to be the most anticipated Pay-Per-View event in history1. Plaintiff licensed the Program

to over 6,000 establishments nationwide authorizing them to exhibit the Program to their patrons,

customers, members, and/or guests, granting such authorization after the payment of a commercial

license fee to Plaintiff, which fee was determined by the capacity of the establishment.

          11.    The Program was legally available to the Defendants for exhibition in their

Establishment only after paying the commercial rate to Plaintiff. Defendants, however, chose not

to contract with Plaintiff and pay the proper commercial license fee to Plaintiff.                      Instead,

Defendants, including their agents, servants, and/or employees, took affirmative steps to

circumvent the commercial licensing requirement and unlawfully obtained the Program through

an unauthorized cable signal, satellite signal, and/or internet stream.

          12.    In an effort to avoid paying the proper commercial license fees to Plaintiff,

commercial locations, among other methods, obtained the Program through the illegal misuse of

cable and satellite service by: (1) intercepting and redirecting cable or satellite service from a

nearby residence, (2) registering their business location as a residence, (3) physically moving a




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         See Mayweather, McGregor poised for history-making fight, Reuters, https://www.reuters.com/article/us-
boxing-mayweather-mcgregor/mayweather-mcgregor-poised-for-history-making-fight-idUSKCN1B52L8 (last
visited April 19, 2018)

                                                       3



                Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 3 of 7
cable or satellite receiver from a residence to their business, and/or (4) obtaining the Program in

violation of the terms of their television service provider agreement.

       13.     In addition to the above, commercial locations also exploited restricted online

access to the Program in order to avoid paying the proper commercial license fees to Plaintiff.

Individual consumers could stream the Program through a limited number of legitimate online

distributors for a maximum retail price of $99.99, but only for non-commercial use. The website

of each distributor carried clear language limiting use of an online stream to residential, personal,

and/or non-commercial use only. Undeterred, commercial locations would purchase the Program

for viewing on a personal device or in a residence, then proceed to link this device to the

establishment’s television screen(s) to unlawfully exhibit the Program commercially.

       14.     Upon information and belief, Defendants willfully engaged in one or more of the

above illegal acts to receive the Program for free or at a nominal cost while Plaintiff’s legitimate

customers paid several thousand dollars. Defendants knew, or should have known, their receipt

and exhibition of the Program at their establishment was not authorized.

       15.     Upon information and belief, Defendants intentionally pirated the Program for the

sole purpose of their own economic gain. Defendants exhibited the Program for the commercial

purpose of attracting paying customers, patrons, members, and guests, thereby wrongfully

benefiting financially by infringing Plaintiff’s rights in the high-profile event.

       16.     Defendants did not have license, authorization, permission, or consent from

Plaintiff to exhibit the Program in the Establishment.

       17.     As exclusive licensee and copyright assignee of the Program, Plaintiff has standing

and capacity to bring this action in its own name against Defendants for violations of the

Communications and Copyright Acts.



                                                  4



              Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 4 of 7
                                             COUNT I

          SATELLITE [47 U.S.C. § 605] AND CABLE [47 U.S.C. § 553] PIRACY

       18.     Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

and averment set forth in the above paragraphs of this Complaint with the same force and effect

as if the same were more fully set forth at length herein.

       19.     Upon information and belief, Defendants’ exhibition of the Program was

accomplished through the interception and receipt of a cable and/or interstate satellite signal.

       20.     Defendants’ wrongful actions, in connection with the unauthorized exhibition of

the Program, as described above, violate (in the alternative to the extent necessary) 47 U.S.C. §§

605 and/or 553.

       21.     Accordingly, Plaintiff is entitled to judgment in its favor and against each

Defendant for statutory damages, in the discretion of this Court, plus interest, costs and attorneys’

fees, pursuant to 47 U.S.C. §§ 605 and/or 553.

                                            COUNT II

                                COPYRIGHT INFRINGEMENT

       22.     Plaintiff repeats, re-alleges, and incorporates by reference each and every allegation

and averment set forth in the above paragraphs of this Complaint with the same force and effect

as if the same were more fully set forth at length herein.

       23.     Defendants’ unauthorized distribution and public performance of the Program

through any means, including without limitation, cable, satellite, or internet stream, was in

violation of 17 U.S.C. §§ 106 and 501.

       24.     Defendants’ acts of infringement were not only willful, intentional, and purposeful,

but also in complete disregard of and indifference to Plaintiff’s rights.



                                                  5



             Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 5 of 7
       25.      Accordingly, Plaintiff is entitled to judgment in its favor and against each

Defendant for statutory damages, in the discretion of this Court, plus interest, costs and attorneys’

fees, pursuant to 17 U.S.C. § 505.

                                              PRAYER

       WHEREFORE, Plaintiff prays for judgment in favor of Plaintiff and against each

Defendant jointly and severally as follows:

                a.     for statutory damages, in the discretion of this Court, of up to the maximum

       amount of $110,000.00 for the willful violation of 47 U.S.C. § 605 committed for the

       purpose of commercial advantage, or alternatively, for statutory damages, in the discretion

       of this Court, of up to the maximum amount of $60,000.00 for the willful violation of 47

       U.S.C. § 553 committed for the purpose of commercial advantage;

                b.     for Plaintiff’s attorneys’ fees, interest, and costs of suit pursuant to 47

       U.S.C. § 605(e)(3)(B)(iii) or, alternatively, pursuant to § 553(c)(2)(C);

                c.     for statutory damages, in the discretion of this Court, of up to the maximum

       amount of $150,000.00 pursuant to 17 U.S.C. § 504(c) for the willful violation of 17 U.S.C.

       § 501;

                d.     for Plaintiff’s attorneys’ fees, interest, and costs of suit pursuant to 17

       U.S.C. § 505; and

                e.     for such other and further relief to which Plaintiff may be entitled.




                                                 6



             Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 6 of 7
Submitted this 21st day of June 2018.

                                        ANDERSON JONES, PLLC

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                                          7



             Case 1:18-cv-00538 Document 1 Filed 06/21/18 Page 7 of 7
